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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                                 )
                                                           )
                   Plaintiff,                              )
                                                           )
          vs.                                              )          1:12-cr-133           SEB-TAB
                                                           )
 JOHN DOBBINS,                                             )              -- 15
 HEATHER HECKMAN,                                          )              -- 18
 JOSEPH JOHNSON,                                           )              -- 25
 LEEANN BROCK,                                             )              -- 28
 JOSHUA MILLER, and                                        )              -- 29
 EZEKIEL JONES,                                            )              -- 37
                                                           )
                   Defendants.                             )


      ORDER DENYING DEFENDANTS= MOTION TO SUPPRESS WIRETAPS
                     (Docket Nos. 669, 684, 686 & 692)

          This matter is before the Court Defendant Joshua Miller’s Motion to Suppress

 Wiretap Evidence filed on June 5, 2013 (at Docket No. 669), which was joined in by

 Defendants Heather Heckman (at Docket No. 671), Joseph Johnson (at Docket No. 684),

 LeeAnn Brock (at Docket No. 686), Jon Dobbins (at Docket No. 706), and Ezekiel Jones

 (at Docket No. 692).1 Defendants assert that the Government did not establish in its



 1     The Government does not contest the standing of Defendants Miller, Heckman, Brock and Dobbins to challenge
 the wire surveillance. However, the Government’s counsel does contend that Defendants Johnson (Def 25) and Jones
 (Def 37) lack standing to bring this motion because they were incarcerated in the Indiana Department of Corrections
 during the pendency of the court authorized wire surveillance and thus do not and cannot claim a reasonable
 expectation of privacy in the conversations on contraband cell phone they were using as they were serving their prison
 sentences, pursuant to the holdings in Lanza v. New York, 370 U.S. 139, 143 (1962); and Ingraham v. Wright, 430
 U.S. 651, 669 (1977). A prisoner does not retain a reasonable expectation of privacy in a prison cell. Defendants
 Johnson and Jones do not contest the Government’s lack of standing argument. We agree with the substance of these
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 applications for wiretap authority filed with the court any necessity for conducting wire

 surveillance, as required by 18 U.S.C. ' 2518(1)(c), and thus that the intercepted telephone

 communications should be suppressed. The pending motion has been fully briefed by the

 parties, and, based on our review of the briefing and the applicable principles of law

 explicated below, the Motion to Suppress Wiretap Evidence is DENIED.

                                  I. FACTUAL BACKGROUND

         The Government sought and received three separate court orders authorizing wire

 surveillance in this investigation. Defendants challenge the affidavits filed in support of

 each application, arguing that none of them meets the requirements for establishing

 necessity set out in 18 U.S.C. ' 2518(1)(c).

         This investigation began in November 2010 when an inmate of the Indiana

 Department of Corrections (IDOC) provided information to the Federal Bureau of

 Investigation relating to alleged illegal activities by certain other inmates who were

 members of either the Aryan Brotherhood, a White Supremacist gang, or another gang

 operating under the name of Norteno. In a nutshell, the confidential informant advised

 that certain inmates whom he identified were using illegally smuggled cellular telephones

 to oversee the distribution of controlled substances both inside and outside of IDOC. As the

 investigation progressed, the confidential informant ceased cooperation with the FBI and,

 in fact, became implicated in wrongdoing himself.


 holdings and the Supreme Court analysis as applied here, and thus dismiss the motion to suppress for lack of
 standing as to both Johnson and Jones.

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         Beginning in June 2012, the FBI sought from the court three orders authorizing the

 interceptions of wire communications to and from Target Phones I, II and III, all of

 which Judge Magnus-Stinson issued for the period beginning June 20, 2012 and ending on

 July 20, 2012. Defendant Justin Addler was identified as the primary user of Target Phone

 I. Defendant Oscar Perez was identified as the primary user of Target Phone II, and

 Defendant Gregory Hart was identified as the primary user of Target Phone III.

         On July 20, 2012, Judge Pratt of this court authorized the continued interception of

 wire communications to and from Target Phones I and II to begin on July 20, 2012 and

 ending on August 19, 2012.2

     A. The June 20, 2012, Wiretap Order and the July 20, 2012, Extension Order

         The original wiretap application dated June 20, 2012, authorized the FBI to conduct

 wire surveillance of the communications occurring over three contraband cellular

 telephones being utilized from inside the DOC by charged co-defendants, Justin Addler

 (ATarget Phone I@), Oscar Perez (“Target Phone II) and Gregory Hart (“Target Phone III).

 These lines were being used by the named targets for purposes relating to their engagement

 in the commission of illegal drug trafficking offenses.

         As detailed in the affidavit accompanying the Applications, the law enforcement

 investigation spelled out the actions of Addler, Perez, Hart and others. Upon careful

 review of the matters laid out therein, the court found probable cause to believe that each


 2    We are informed that all relevant applications, affidavits, and orders authorizing the interceptions of wire
 communications from all listed target phones for the dates specified have been made available to defense counsel and
 docketed under seal.
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 subject was involved in heroin and/or methamphetamine transactions operating from

 inside the DOC where they were incarcerated utilizing a network of coconspirators with

 whom they communicated via contraband cellular phones. The court’s probable cause

 determination has not been challenged by any of the Defendants.

       On July 20, 2012, the government sought extensions of authority to continue the

 wiretap interceptions on Target Phones 1 and 2 for an additional thirty day period.

 Extensive investigative details were set out in this affidavit, as in the prior affidavit,

 reflecting information gathered from the continuing investigation into ongoing drug

 transactions by Addler and Perez, whose phones continued to provide the means of

 communication with and among the other alleged co-conspirators.

       B. The Necessity for Wire Surveillance over Target Phones 1, 2 AND 3

        The use of wire taps as an investigative technique is by federal statute limited to

 situations where traditional methods of investigation are inadequate and such procedures

 are Anot to be routinely employed as the initial step in criminal investigation.@ United

 States v. Giordano, 416 U.S. 505, 515 (1974). Each application for wire surveillance must

 contain Aa full and complete statement as to whether or not other investigative procedures

 have been tried and failed or why they reasonably appear to be unlikely to succeed if tried

 or to be too dangerous.@ 18 U.S.C. ' 2518(1)(c). The Government may establish the

 need for wire surveillance by demonstrating any one of these three alternatives. United

 States v. Ceballos, 302 F.3d 679, 683 (7th Cir. 2002). This requirement is known as the

 exhaustion or necessity requirement. United States v. Fudge, 325 F.3d 910, 919 (7th Cir.
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 2003). Under Seventh Circuit law, the Government=s burden of proving necessity Ais not

 great@ and its compliance with the necessity requirement is Areviewed in a >practical and

 common sense fashion.=@ United States v. Plescia, 48 F.3d 1452, 1463 (7th Cir. 1995)

 (quoting United States v. Zambrana, 841 F.2d 1320, 1329 (7th Cir. 1988)).

        A court should grant a motion to suppress wire surveillance if Athe order of

 authorization or approval under which it was intercepted is insufficient on its face.@ 18

 U.S.C. ' 2518(10)(a). If such a motion is granted, Athe contents of the intercepted wire or

 oral communications, or evidence derived therefrom shall be treated as having been

 obtained in violation of this chapter.@ 18 U.S.C. ' 2525.

        Each application for wire surveillance in this case appears to comply fully with the

 requirements of Title 18, U.S.C. § 2518(1)(c) in that they both contain “a full and complete

 statement as to whether or not other investigative procedures have been tried and failed or

 why they reasonably appear to be likely to succeed if tried or to be too dangerous.”

        Agreeing with the Government that its burden of establishing compliance with the

 necessity requirement is “not great” and that compliance is to be assessed in a “practical

 and common sense fashion.” (United States v. Ceballos, supra, at 683 (quoting United

 States v. Zambrana, supra, at 1329), Defendants nonetheless contend that the Government

 has “not shown why the use of undercover officers, a traditional investigative technique,

 could not be used as an alternative to a wiretap.” (Pages 2-3, Defendants’ Reply Brief)

 Defendants correctly note that the Government utilized two undercover employees in the

 early stages of its investigation who made a total of four (4) controlled buys of narcotics,
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 but take issue with the “conclusory,” unsubstantiated statement by the Affiant that the

 continued use of the undercover employees was not likely to result in successful

 penetration of the alleged drug organization.” (Affidavit ¶ 109, Extension Affidavit ¶ 74)

 Defendants also object to the generalized assertion in the Affidavit(s) that it would take “an

 unreasonably long time” to place an undercover agent into a position capable of revealing

 the kind of information necessary to understand the scope of the illegal drug trafficking.

 (Affidavit ¶ 110, Extension Affidavit ¶ 75)

        Defendants’ argument, distilled as it is in the final paragraph of its Reply Brief

 (Page 5), reads as follows: “While the government was not required to exhaust every

 possibility regarding traditional investigative techniques, neither should it have been

 allowed to ignore such a technique when it was proving to be both fruitful and

 cost-effective. Ippolito, 774 F. 2d, at 1486.”

        Title 18 U.S.C. § 2518(1)(c) specifies three situations under which a wiretap is

 justified. Even so, it is incorrect to view the authorization of a wiretap as the last resort,

 available only if all other investigative approaches have been (1) tried and failed, or (2)

 won’t likely bear investigative fruit or otherwise be futile, or (3) are too dangerous. The

 Government need only demonstrate that other methods of investigation have failed or they

 appear unlikely to be successful or would be too dangerous. United States v. Adams, 125

 F. 3d 586, 596 (7th Cir. 1997).

        The Affidavits before us outline in detail the Government’s consideration of and its

 attempts to utilize a wide array of investigative techniques, including informants and
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 undercover agents, telephone records, pen registers, physical surveillance, search warrants,

 grand jury proceedings, surveillance cameras, trash covers, and mail covers. Because

 Defendants’ motion to suppress challenges only the allegedly premature termination of the

 use of undercover agents for the ostensible purpose of justifying the more intrusive wiretap

 procedures, we focus our analysis here only on the issues relating to the undercover agents.

                                 II. LEGAL ANALYSIS

      Defendants contend that the affidavits before us fail to establish necessity for wire

 surveillance because the traditional investigative technique of relying on undercover

 agents was abandoned prematurely. Thus, the Government did not establish that that

 technique was insufficient or unlikely to succeed or too dangerous to employ further as a

 means of exposing the information necessary to support a prosecution.              Had law

 enforcement officers continued with their traditional investigative techniques, say the

 defendants, the wiretap orders would not have been necessary. We disagree.

        Each of the two affidavits submitted in support of the applications for wiretap

 authorizations lays out in painstaking detail the efforts made by investigative agents to

 utilize undercover agents. Undercover agents were deployed early on to make a limited

 number of contacts which generally culminated in single purchases of heroin or

 methamphetamine from a person operating under the direction of Addler or Perez. This

 use of undercover agents was curtailed for reasons fully spelled out by the case agent in his

 affidavits.   These encounters by undercover agents revealed virtually nothing with

 reference to the identities of others involved in the drug trafficking conspiracy beyond the
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 persons with whom they had direct contact or the nature and extent of their criminal

 enterprise. Confidential Sources had informed law enforcement prior to the use of the

 undercover agents that Addler and Perez, who were operating from within the DOC, were

 respectively high-ranking members of two gangs and that they conducted their illegal drug

 trafficking enterprises over contraband cellular phones which they had secretly acquired

 for use from inside the state prison.

        After setting forth in substantial detail spread out over more than forty pages the

 investigative events that had occurred which led up to the request for wiretap authority,

 Special Agent Craig Tremaroli wrote under oath: “I believe that interception of wire and

 electronic communications as applied herein is the only available technique that has a

 reasonable likelihood of securing the evidence necessary to prove beyond a reasonable

 doubt that the NAMED INTERCEPTEES, and others yet unknown, are engaged in this

 investigation.” (Page 45, Affidavit.)

        The Affidavit contains a listing of all the investigative steps pursued by law

 enforcement over the course of this investigation up to that time, following which Special

 Agent Tremaroli stated (at page 45): None of the investigative techniques has

               been able to establish when controlled substances will be
               stored at any given location, or the location of any stash houses
               being utilized to store controlled substances, the exact details
               of when and how controlled substances are distributed by the
               NAMED INTERCEPTEES, the identity of the suppliers of the
               controlled substances, or the customers for the controlled
               substances to be distributed.            Norman investigative
               techniques have failed to real the identities of all those
               participating in the illegal activity, nor have they resulted in
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               sufficient evidence to successfully prosecute all the NAMED
               INTERCEPTEES for all their criminal activity.

        As previously referenced in this ruling, regarding the use of undercover police

 Officers and agents, Special Agent Tremaroli noted in his Affidavit (Page 51, ¶ 107) that in

 the early stages of the investigation law enforcement was able to use two FBI UCEs to

 infiltrate the drug trafficking activities of Addler, Perez and Hart. However, they were

 able only to make controlled purchases of heroin via transactions facilitated by Addler and

 Hart over Target Phone 1 and Target Phone 3. He further noted that this limited

 involvement of the UCEs did not identify the sources of supply, drug proceeds, means of

 laundering, and other such investigative goals. In addition, members of Addler and Hart’s

 (and Perez’s) drug trafficking organization(s) were typically nervous and uncomfortable

 dealing with white people and were suspicious of people they thought might be connected

 with law enforcement who were attempting to infiltrate their organizations. Special

 Agent Tremaroli averred that Addler and Perez tend to rely on trust and longstanding

 relationships among their associates in conducting their illegal activities and are wary of

 outsiders, making it extremely difficult and potentially dangerous to attempt to infiltrate

 the drug trafficking organizations by an undercover agent.           Finally, Special Agent

 Tremaroli stated, the introduction of such an agent would take an unreasonably long time

 to gain the necessary trust of the subjects and satisfy the goals of the investigation, adding

 to the danger such a person would face in the context of a long term drug investigation.




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        In Paragraph 111, Special Agent Tremaroli concluded thus: “As a result, I believe

 the use of additional undercover agents or officers is unlikely to be successful if attempted,

 and is too risky to employ under the circumstances surrounding this investigation.”

        It is important to note that the AUSA assigned to this matter, who submitted the two

 applications to the Court seeking wiretap authority, stated therein (in Parag. c on Page 6):

 “(N)ormal investigative procedures have been tried and failed, reasonably appear to be

 unlikely to succeed if tried, or are too dangerous to employ, as is described in further detail

 in the attached Affidavit.”

        Finally, it is also important to note that each of the issuing judges found and

 recorded in her respective Order, in language mirroring the Application, as follows (Parag.

 C, Page 4): “(I)t has been established that normal investigative procedures have been tried

 and have failed, reasonably appear to be unlikely to succeed if tried, or are too dangerous to

 employ;”

        We find no basis on which to fault the investigative efforts outlined in the papers

 filed with the Court in conjunction with the subject wiretaps or to challenge the

 assessments and knowledge of the attorneys and agents that further use of undercover

 employees in this investigation would not bear sufficient results to be fruitful in terms of

 their investigations or would be too dangerous to pursue. The investigation that was

 underway when application was made for wiretap authority involved a relatively small,

 insular, tight knit, possibly violence prone (given the gang memberships and prior criminal

 histories) group of inmates incarcerated within the state prison facility. Whether and to
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 what extent prison personnel were aware of or otherwise implicated in the drug trafficking

 being conducted by the subjects of this investigation would make the use of undercover

 agents subject to easy discovery by collaborators with the targets. It seems clear to us that

 the use of undercover agents inside the prison would require that those agents themselves

 submit to long term incarceration in order to successfully penetrate the operations of the

 conspiracy – a patently risky and dangerous strategy, not to mention unrealistic, and the

 sort of long term process that we assume Special Agent Tremaroli was referencing in his

 Affidavit. Further use of undercover agents would never allow them to overcome their

 inherent weakness as evidence gatherers in a widespread drug conspiracy because they will

 forever be limited to single, one-at-a-time dealings with the targets of the investigation.

 Perhaps this is what defense counsel was hoping for in filing this motion to suppress – an

 investigation that would have proceeded so slowing and ploddingly that it never would

 have disclosed the full nature and broad extent of the criminal wrongdoing alleged here as

 reflected in the Indictment of 40 defendants, whose actions, jointly and severally, are

 alleged to have spanned over many months, and many states, and involved major quantities

 of controlled substances, which are the fruits of the properly authorized wiretaps.

        Given the low burden which the Government must meet in order to show the

 necessity of a wiretap, we hold with no difficulty that that burden has been satisfied here.

 The traditional method of investigation using undercover agents is inadequate and that

 procedure has Anot (been) routinely employed (in this case) as the initial step in criminal

 investigation.@ United States v. Giordano, 416 U.S. 505, 515 (1974). The facts laid out
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 in the Affidavit and the corresponding Court Orders authorizing the wiretaps support this

 finding of necessity and the exhaustion requirement of 18 U.S.C. § 2518(1)(c) has been

 satisfied.      See Ceballos, 302 F.3d at 684 (necessity requirement satisfied when

 informants/undercover agents could not Afurnish information which would fully identify

 all members of [the] ongoing criminal conspiracy or which would define the roles of these

 conspirators sufficiently for prosecution@). Also see Zambrana, 841 F.2d at 1331-32

 (finding a wiretap necessary despite some success with normal investigative techniques

 because those techniques were not likely to identify all co-conspirators at all levels of the

 drug conspiracy).

          Accordingly, we DENY Defendants= Motion to Suppress.3

          IT IS SO ORDERED.



           01/23/2014
 Date: ________________________
                                                                         _______________________________
                                                                          SARAH EVANS BARKER, JUDGE
                                                                          United States District Court
                                                                          Southern District of Indiana




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 Electronically registered counsel of record via ECF



 3 This ruling applies to Defendants Miller, Heckman, Brock and Dobbins only. For the reasons explained in
 Footnote 1, supra, the motion is dismissed as to Defendants Johnson and Jones for their lack of standing to challenge
 the authorized wiretap.
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